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                                             February 5, 2021
VIA ECF

Hon. John G. Koeltl                                             The conference is canceled. All other
United States District Judge                                    dates extended as requested.
Southern District of New York                                   SO ORDERED
Daniel Patrick Moynihan United States Courthouse                                      /s/ John G. Koeltl
500 Pearl Street                                                February 8, 2021          John G. Koeltl
New York, New York 10007                                        New York, NY                 U.S.D.J.


       Re:     Zheng v. LiveAuctioneers LLC, 1:20-cv-9744-JGK

Dear Judge Koeltl,

         Plaintiff Peiran Zheng and Defendant LiveAuctioneers, LLC jointly submit this letter regarding
deadlines in the above-referenced matter. Plaintiff requests an extension of time of 14 days from the
current deadline of February 12, 2021 to February 26, 2021, for Plaintiff to file his response to Defendant
LiveAuctioneers LLC’s Motion to Compel Arbitration and Stay This Action (Doc. #18). Plaintiff has
consulted with counsel for Defendant. Defendant does not oppose the requested extension, and requests
that it be granted one additional week to file its reply brief (which would extend the deadline, assuming
Plaintiff’s request is granted, from March 5, 2021 to March 12, 2021). This is Plaintiff’s and Defendant’s
first request for an extension of time with respect to these deadlines.

        In addition, the parties jointly request that the Court postpone the Pretrial Conference, currently
set for March 8, 2021, by 60 days. Given the pending motion to compel arbitration, the parties believe it
would be more efficient for the Court to defer the Pretrial Conference (and the related obligations of the
parties to propose a schedule and address the other matters required by Fed. R. Civ. P. 26) until after the
Court rules on Defendant’s motion to compel arbitration. This is the first request of the parties to
postpone this conference.

       Finally, for the same reason (in light of the motion to compel arbitration), Defendant requests an
additional 60 days to answer or otherwise respond to the complaint, which would extend the current
deadline of March 5, 2021 to May 4, 2021. Plaintiff consents to this request, subject to the Court’s
approval. This is the second request for an extension with respect to this deadline. The original deadline
of February 2, 2021 was extended by the Court to March 5, 2021, following Defendant’s prior request
(Doc. #16).
Hon. John G. Koeltl
February 5, 2021
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       Accordingly, the parties (as explained above) respectfully request that the Court extend the
following deadlines in this matter:

         Event                          Current Deadline                Proposed New Deadline

         Opposition to Motion to        February 12, 2021               February 26, 2021
         Compel Arbitration
         Reply in Support of Motion     March 5, 2021                   March 12, 2021
         to Compel Arbitration
         Deadline to Answer or          March 5, 2021                   May 4, 2021
         Respond to the Complaint
         Pretrial Conference            March 8, 2021                   May 7, 2021 or such other
                                                                        date that is convenient for
                                                                        the Court


                                                            Respectfully submitted,

                                                            /s/ Thomas A. Zimmerman, Jr.

                                                            Thomas A. Zimmerman, Jr.
                                                            (admitted pro hac vice)

                                                            Counsel for Plaintiff


                                                            /s/ David S. Douglas

                                                            David S. Douglas

                                                            Counsel for Defendant


cc: Counsel of record (Via ECF)
